      Case 22-16159-CMG           Doc 173-1       Filed 12/30/22    Entered 12/30/22 11:55:05   Desc
UNITED STATES BANKRUPTCYProposed
                         COURT Consent Order                       Page 1 of 2
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
53575
Morton & Craig LLC
John R. Morton, Jr., Esq.
110 Marter Avenue
Suite 301
Moorestown, NJ 08057
856-866-0100
Attorney for Santander Consumer USA Inc. dba
Chrysler Capital


In Re:                                                     Case No.: 22-16159
ASSUNCAO BROS., INC.
                                                           Chapter 11

                                                           Judge: Christine M. Gravelle


                          CONSENT ORDER VACATING AUTOMATIC STAY

      The relief set forth on the following pages, numbered two (2) is hereby ORDERED.
       Case 22-16159-CMG         Doc 173-1 Filed 12/30/22 Entered 12/30/22 11:55:05                 Desc
                                 Proposed Consent Order Page 2 of 2
       (Page 2)
       Debtor: Assuncao Bros., Inc. / 53575
       Case No: 22-16159 (CMG)
       Consent Order Vacating Automatic Stay


              Upon consideration of the application of Santander Consumer USA Inc. dba Chrysler
       Capital for an order for relief from the automatic stay, and good cause appearing therefore, it is hereby


              ORDERED that the automatic stay of the Bankruptcy Code section 362(a) is vacated to permit

       Santander Consumer USA Inc. dba Chrysler Capital to pursue the its rights in the personal property

       described below to the extent and in the manner provided by any applicable contract documents and

       non-bankruptcy law.



       Ordered that the terms of this order shall take effect immediately.




              The applicant shall serve this order on the debtors and the trustee.



       Description of Subject Personal Property
       2019 Jeep Grand Cherokee
       Vehicle identification number
       1C4RJFCGXKC552817


We hereby consent to the form and entry of the within order:



/s/ Michael R. Herz
Michael R. Herz, Esq.
Attorney for the debtor, Assuncao Bros., Inc.



/s/ John R. Morton, Jr., Esq.
John R. Morton, Jr., Esq.,
Attorney for Creditor, Santander Consumer USA Inc. dba Chrysler Capital
